                               NO. 07-10-0355-CV
                               NO. 07-10-0356-CV
                               NO. 07-10-0357-CV

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL A

                               OCTOBER 26, 2010

                        ______________________________


                      IN RE TIMOTHY RAY WILLIAMS, RELATOR

                       _________________________________


Before CAMPBELL and HANCOCK and PIRTLE, JJ.
                              MEMORANDUM OPINION
	Timothy Ray Williams, proceeding pro se and in forma pauperis, seeks a writ of mandamus to compel the Honorable John B. Board, Judge of the 181st District Court of Randall County, to rule on his Motion to Rescind Order to Withdraw Inmate Funds filed in the trial court on May 5, 2010.  Relator's motion to rescind follows from this Court's Opinion on Abatement issued on April 22, 2010, in cause number 07-10-0091-CV, 07-10-0100-CV, and 07-10-0101-CV, wherein this Court abated further proceedings for 180 days to allow Relator time to challenge the order to withdraw inmate funds.  As of October 20, 2010, a reporter's record and supplemental clerk's record were both filed reflecting that a hearing was held on Relator's motion and that the trial court signed an order granting in part and denying in part Relator's motion to rescind.  Consequently, the relief sought by Relator in his Petitions for a Writ of Mandamus is rendered moot.
	Accordingly, we dismiss these proceedings.
							Per Curiam


